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             EXHIBIT K
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                                                         March 18, 2025

                       HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

      Via Email

      Diana A. Aguilar Aldape
      U.S. Department of Justice
      450 Golden Gate Ave., Suite 10-0101
      San Francisco, CA 94102
      diana.aguilar@usdoj.gov

                 Re:      United States, et al. v. Google LLC, No. 20-cv-3010-APM (D.D.C.) & State of
                          Colorado, et al. v. Google LLC, No. 20-cv-3715-APM (D.D.C.)

          Dear Diana:

              I write to follow up on the parties’ Saturday, March 15, conferral regarding Request No. 8
      of Plaintiffs’ Third Joint Set of Requests for Production (“Request No. 3:8”). Based on that
      conferral, we understand that it is your position that Google must produce (or must confirm that it
      has produced) “a comprehensive and final model and data card set for all of the models that
      underlie the three products” discussed, i.e., AI Overviews, AI Mode, and the Gemini chatbot. We
      further understand that it is your position that Google must do so notwithstanding the fact that
      Request No. 3:8 sought a different set of documents.1

      1
          For clarity, Request No. 3:8 reads:

                          Produce technical documentation sufficient to show which User-Side Data is used, any
                          considerations of privacy or privacy-protection mechanisms for this use, and how often this data is
                          refreshed, to (a) train and (b) fine tune:

                                   a. Google’s AI models to generate summaries for Google’s AI Overview;

                                   b. Google’s retrieval models that are used to retrieve data when generating summaries for
                                   Google’s AI Overview;

                                   c. Google’s AI models to generate responses to queries submitted via Google’s Circle to
                                   Search functionality; and

                                   d. Google’s AI models to operate as the Gemini chatbot.
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         Plaintiffs’ position is without foundation. As described in my March 13 letter, Google has
produced over five-dozen model or data cards, first located in response to Plaintiffs’ request for
“documents sufficient to show if and what search log or user-side data Google uses to train or fine-
tune its foundation models for [applications including AI Overviews, the Gemini Chatbot, and AI
Mode], how the search log or user-side data improves or benefits a specific application, and the
size, fields, and types of data used in the search log or user-side data sets.”2 As a courtesy, Google
has also produced a finalized copy of the Gemini v3 Pre-Training Data Card. See GOOG-DOJ-
34936179. Fundamentally, your position ignores that, in our letter dated March 13, 2025, we
confirmed that the model and data cards we produced in connection with RFP 3:8 were final
versions, rather than drafts. We further note that, last evening, Plaintiffs requested certain linked
documents from those model cards. We are working to produce those linked documents.

        Plaintiffs have no basis to demand the production of still more model and data cards. Fact
discovery closed more than two weeks ago. See ECF 1043, § I.M (“Fact discovery shall conclude
on February 28, 2025.”). Plaintiffs’ demand that Google produce additional model and data cards
that Plaintiffs never requested in fact discovery has no basis. The suggestion that the Court ordered
Google to produce material beyond that sought in Request 3:8 likewise has no basis. The context
of the discussion was a resolution of the dispute regarding Request 3:8—not a new, untimely
request to expand the scope of discovery.


                                                                           Sincerely,

                                                                           /s/ Christopher Yeager

                                                                           Christopher A. Yeager




                    For the avoidance of doubt the information produced in response to 8(a)-(c) shall include
                    documents sufficient to show all the available fields for the data used for such purpose, along with
                    a corresponding data dictionary.
2
    This is Request No. 9 of Plaintiffs’ Second Joint Set of Requests for Production.
